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                                                                                                                                                r ILLU
                                                                                                                                                      I  I
                                                                                                                                           s'!:liL:--ri;ua
                    IN      THE I'NITED STATES DISTRICT COURT FOR                                                                 r"?r
                                 SOUTHERN DISTRICT OF GEQRGIA                                                                             16JAH-5 Ati9,rrb
                                        DUBIJIN DIVISION
                                                                                                                                     CLIRX

UNTTED STATES OF AMERICA


                                                                                                     cR 312-003-5


ANTONIO SMILEY




                                                                             ORDER




           DefendanL                               Antonio             Smiley                recently                filed       a     motion      to

reduce his                senLence under 18 U.S.C. S 3582(c) (2) on the basis

of      Amendments 780                                      and 782 to                       the     Unit.ed           States          Sentencing

Guidelines                  as                if       j-t     is         the          first             time     he has             sought     such

rel-ief .            In point                           of      fact,                Smiley previously                         filed      for   this

same rel-1ef and was denied on ,January 28, 2015, because he had

been sentenced as a career                                                          offender.              Taking issue                 with    this

finding,             Smiley                         f il-ed          a         motion              for     recons iderat ion.                    The

motion       for          reconsideration                                           was denied             on May 4,            2015, and the

.,^11?1-     a*nl                                            qmi                                                      Firr-F     .lcnartllre       he
             c^yf        a=! ! ir ! sr r a , , l    lu-vn    !t'Lf   fI !al r , '    f haf         thF     sFnf


ralci      rrad      nrrr^qrr.anf t-o                            U.S.S.G.                    S     5K1 .1        for      his        substantial


assisEance                        to                t.he        Government                         had          no      bearing            on    hls

cfassificalion                                 and senLence as a career                                         offender.

           Now,            through                           the           present                 motion,             Smiley           makes

identical                argument that                                he was noL sentenced                                   as a career
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offender    because his              sentence       has been reduced under              Federal

Rul-e of Criminal          Procedure          35.     The Court's      conclusion             is    the

same however.         The Rule 35 reducLion                   does not       change that            fact

that   Smiley      was sentenced             as a career       offender       and not         under

a   drug    quantity              table     that     was     subsequentl-y           amended.

Accordingly.        any changes to              the drug quantity            table     pursuant

to Amendments 780 and 782 are not                        applicable         to Smiley,

       TTn^n fha    fnranni
                    !v!e:Jv+rrY
                                    nn     emi l arr/ q yrreqenf   motion     to     reduCe        his


            (doc. no. 876) is                 DENIED'

                                                                                6",
sentence

       ORDER ENTERED at                   Augusta,      Georgia,      this

January,    2015.




                                                      UNITED STA             DISTRICT         JUDGE
